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In Re:

PHARMACEUTICAL INDUSTRY
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

CA No. 01-12257-PBS
MDL No. 1456
Pages 1 - 30

CLASS COUNSEL STATUS CONFERENCE
BEFORE THE HONORABLE PATTI B. SARIS
UNITED STATES DISTRICT JUDGE

United States District Court

1 Courthouse Way, Courtroom 19
Boston, Massachusetts
September 11, 2007, 10:10 a.m.

LEE A. MARZILLI
OFFICIAL COURT REPORTER
United States District Court
1 Courthouse Way, Room 3205
Boston, MA 02210
(617) 345-6787

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APPEARANCE 8S:
For the Plaintiffs:
STEVE W. BERMAN, ESQ. (By Telephone),
Hagens Berman Sobol Shapiro LLP, 1301 Sth Avenue, Suite 2900,
Seattle, Washington, 98101-1090.
THOMAS M. SOBOL, ESQ., Hagens Berman Sobol Shapiro LLP,

One Main Street, Cambridge, Massachusetts, 02142.

DONALD E. HAVILAND, ESQ., The Haviland Law Firm, LLC,
740 §. Third Street, Third Floor, Philadelphia, Pennsylvania,

19102.

ALGO PRESENT: Andrew J. Jackson, Esq., D. Scott Wise, Esq.

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PROCEEDINGS

THE CLERK: In Re: Pharmaceutical Industry Average

Wholesale Price Litigation, Civil Action 01-12257, will now
be heard before this Court. Will counsel please identify

themselves for the record.

MR. SOBOL: Good morning, your Honor. Thomas Sobol

for the class plaintiffs. With me on the phone is my
partner, Steven Berman.

THE COURT: Thank you.

MR. HAVILAND: Good morning, your Honor. Donald
Haviland, Haviland Law Firm, for the plaintiffs.

THE COURT: I'm not sure if any defense counsel
have shown up. They're not needed. I notice some folks who
might be defense counsel sitting here. Do you want to be
recognized or just sit and --

MR. WISE: I'm just observing, your Honor.

THE COURT: Just observing, that's fine.

I got a phone call from a Judge William G. Bassler
after I had appointed Mr. Haviland as co-lead counsel,
basically based on a settlement among the lead counsel team.
There had been a serious dispute on the plaintiffs' team. I

thought it was serious. I was about to enter into the fray

when you worked it out, and although I had some misgivings, I

simply said, "If you agree, I'll agree."

The call from Judge Bassler prompted him sending me

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a copy of a letter that you sent to him, Mr. Haviland, on
July 27, 2007. I didn't know if Mr. Sobol had seen that or
Mr. Berman.

MR. SOBOL: I have not, your Honor. I don't know
if Mr. Berman has.

MR. BERMAN: I have not seen it, your Honor.

THE COURT: There were two things that worried me,
but let me get quickly to the thing that worried me the most,
which is, you're seeking a national class in the AWP in the
state litigation, at least according to this letter. Is that
still true?

MR. HAVILAND: Well, your Honor, that's a great
question, and let me just say that at the outset, there has
never been any effort to overlap or interfere with this
Court's jurisdiction. You have to remember the history. We
were brought in as Kline & Specter at the time to assist the
Local 68 counsel in the summer of 2003. They had filed two
cases, the Vioxx litigation and AWP. The client intended to
pursue a national class in both cases. Your Honor I know got
from defense or actually plaintiffs' counsel the Supreme
Court's decision in Vioxx, which is directly involving that
plaintiff, and that certainly is informing that client's
intentions in New Jersey.

THE COURT: Can you hear, Mr. Berman?

MR. BERMAN: It's very hard to hear.

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MR. HAVILAND: I'm sorry, I'll speak up.
THE COURT: That may not be on, the mike, and I

need you to hear this.

MR. HAVILAND: So the answer to your question, your

Honor, is it's unclear, simply because the original complaint

filed in 2003 against 56 companies sought a nationwide class
action. Since that time, your Honor has certified a
nationwide class action, at least for consumers. You're
considering the same for Track Two. So today I can tell you
that we're not looking to do anything that would overlap or
interfere with that. By the same token, there are some
defendants that are not in the MDL. And so what we were
asked to respond to for Judge Bassler, who, by the way, has
been appointed special master by the state court judge, and
we asked him, your Honor, to contact you so that we could
coordinate to make sure that there was --

THE COURT: It just says in this July 27, 2007
letter, "On the strength of the recent Vioxx decision
involving the same representative plaintiff," which I assume
is International Union of Operating Engineers, "plaintiff
seeks certification of a nationwide class defined as
follows." Now, this is just a month ago.

MR. HAVILAND: Right.

THE COURT: "-- defined as follows: All persons

and entities in New Jersey and throughout the country," and

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then it talks, “paid beginning at least 1991 through the
present any cost of a cancer, inhalant, and miscellaneous
other drugs manufactured, marketed, distributed and sold by
defendants." Now, I don't know exactly who all the
defendants are in that case.

MR. HAVILAND: There are 56, and, your Honor --

THE COURT: Fifty-six, so I'm assuming there's a
big overlap here, right?

MR. HAVILAND: Big, yes, in the sense of 20 some
defendants.

THE COURT: Okay, so --

MR. HAVILAND: That language comes right out of the
complaint, just so you know, your Honor. We were asked by
Judge Bassler to give him what the class as pled was.

THE COURT: As you remember, maybe not, when I
remanded the case, I was enormously concerned because of a
lack of reasonable research as to whether these doctors all
had consented to the removal. However, there were direct
representations made to me that it was only going to be a
New Jersey class. And I haven't looked up the Consumer Class
Action Fairness Act in a while. I don't even know whether or
not your proposed national class action is still viable
through a state system, but, in any event, it's directly
inconsistent with your obligations to this Court.

MR. HAVILAND: Well, and, first of all, your Honor,

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1 Mr. Sullivan spoke that day. In his prefatory comments, I

2 wasn't aware of his saying those things. They were

3 inconsistent with the complaint, but he said that there were

4 state claims, state-specific, and there were no federal -- :
5 THE COURT: Who's Sullivan?
6 MR. HAVILAND: He's the associate who appeared that

ee

7 day from Keefe Bartels, from the firm that represents

8 Local 68 directly in both Vioxx and the AWP case.

ET

9 THE COURT: Well, regardless, it was
10 representations made to me.
11 MR. HAVILAND: No question.
12 THE COURT: I was concerned that there wasn't a
13 reasonable investigation as to consent or not consent. I
14 remanded. A very experienced senior federal judge is

15 actually helping, as I understand it, the state court and

16 handled the thing. And as we do, actually, behind the

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17 scenes, we pick up the phone to each other, and it was
18 literally by serendipity a day after I had appointed you as
19 co-lead counsel. |
20 MR. HAVILAND: Right.
21 THE COURT: Or two days after, something like

22 that. And so I need to know that you're not seeking

23 something that, A, is inconsistent with your ethical

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24 responsibilities to this Court, and, B, that would defeat my

25 jurisdiction as MDL judge.

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MR. HAVILAND: Neither do I, your Honor, and I
understood from your clerk when I got the phone call about
today, I'm coming today to tell you that's not going to
happen. Again, the history: This case got remanded. It's
finally gotten with a special master appointed. We
encouraged Judge Bassler to call you so that we could make
sure that we knew exactly what your Honor was doing as that
case progressed. So, you know, the schedule has the case
going through 2010. We are going to wait to see what
happens. I think we have class next summer. Mr. Jackson is
here for Baxter, who's liaison counsel in the New Jersey
case. So we don't even have briefing until well down the
road.

THE COURT: Yes, but this cannot -- you made a
specific representation to the court you were seeking a
national class action. Somebody else but on behalf of the
same party made a specific representation to me that it was
only a state case. But even putting aside all of that, I
think you wanted to be co-lead counsel here, and you had not
been appointed until that point.

MR. HAVILAND: Well, Kline & Specter had, and
that's right, your Honor, my law firm had not, and I agree
with that.

THE COURT: So you can't do this.

MR. HAVILAND: Well, we can't seek a nationwide

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class where it's overlapping. I absolutely agree with that,

your Honor.

THE COURT: So should I issue an injunction? I
mean, I don't know if Mr. Sobol and Mr. Berman or Mr. Wise,
who's sitting here now on behalf of AstraZeneca, or the folks
from Baxter knew about this, but I must admit, red flags
popped up all over the place for me.

Mr. Sobol?

MR. BERMAN: Your Honor, if I may say one thing,
and then I'll let Mr. Sobol speak. We didn't really know
that this was happening until after this hearing was set and

we began to investigate this, but I'm looking at the

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transcript of the proceeding before the special master where

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Mr. Haviland has appeared with his cocounsel, Mr. Williams,

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in the case, and the special master asked at Page 27,
"I guess we've answered the question. It's the plaintiffs'
position that they want a nationwide class?" Answered by

Mr. Williams, “Yes, your Honor."

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So on August 5, I think after Mr. Haviland was

appointed lead counsel before your Honor, he and his co-lead

counsel were taking the position in the New Jersey court that

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they were seeking a national class.
THE COURT: Well, what do I do with this? I mean,
I -- let me just say, the second thing that's created some

misgivings for me was a statement that I had appointed you

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1 co-lead counsel as of July 27, 2007, which was not the case.

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2 Now, that, you could argue, was subsequently cured with the

3 settlement, but at the time, of course, it was a huge pissing

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4 battle -- excuse my French -- within the plaintiffs. Sol

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5 hadn't appointed you co-lead. That was the very issue that

6 was pending. So I'm just worried -- this is a worried
7 conference call -- about whether you are, A, candid with the
8 New Jersey court and with me, and, B, what do I do about
9 this?
10 MR. HAVILAND: Well, if I could answer the what you
il do about it, we have Judge Bassler speaking to your Honor for

12 the very purpose so that there isn't a problem, okay? It's

y

13 not going to be addressed until sometime next summer when we
14 file a class. There are a host of defendants that are in

15 this MDL. Now, your Honor has ordered mediation, and that
16 may come to fruition. There are 19 some attorneys general
17 pursuing those other companies, Hoffmann-La Roche, for

18 instance. Local 68 intended when it filed the case in Vioxx

19 and AWP to have a national class on the strength of that

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20 Vioxx case. The Supreme Court has now ruled that that's a

21 question. Co-lead counsel here have said --

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22 THE COURT: The Supreme Court of New Jersey or
23 Supreme Court of the United States?

24 MR. HAVILAND: New Jersey. That's the opinion that

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So

25 co-lead counsel sent to you, I think this week, explaining

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1 that we don't believe that that affects your decision here
2 for the TPP class.

3 THE COURT: You know, I know you'd like to think
4 that I'm totally current on all 5,000 docket entries, but I

5 don't remember seeing that yet, and maybe I will, but right

6 now I need a representation from you.
7 MR. HAVILAND: Yes.
8 THE COURT: I don't like to enjoin state courts.

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9 A, I think the case law is muddy on whether I can do it --

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10 that's a difficult area -- but as a matter of policy, I

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11 prefer to work together with the state courts, SO --

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12 MR. HAVILAND: And we could craft a stipulation to
13 that effect, your Honor. It's never been raised until this
14 moment --
15 THE COURT: You need this to drop all allegations.

16 Now, I don't know who, like, the lead counsel is for

17 defendants there. Are you Baxter? Are you lead down there?

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18 MR. JACKSON: I'm lead liaison counsel, your Honor,
19 Andy Jackson.
20 THE COURT: Well, so I know you don't want to be

21 here, but you are. So can you think of any reason why, if he

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22 filed a stipulation of dismissal with respect to the request
23 for a national class action on all the companies that are

24 involved in the MDL, that that would create any kind of a

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25 problem?

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MR. JACKSON: Let me back up a little bit just to
make sure that you have the record clear, your Honor. There
wasn't just the statement in front of you that you referred
to earlier about the New Jersey matter being in New Jersey.
There was a letter written to you as well by Mr. Keefe in
September, I guess it was 10th, the day before your argument
on the New Jersey remand motion, where they in that letter
made a very direct representation that the New Jersey matter
was a state class only, and then the next day in the hearing
here, they made the same representation. So we've thought
until that time that the New Jersey matter, we have lots of
problems with it, lots of class problems, lots of merit
problems, but at least based upon that and your actions, we
thought that that was a New Jersey class.

Now, the issue you raised about a stipulation for
our client, that would be great. Since the other defendants
who are not here or who don't have overlapping MDL versus
New Jersey matters, we have to look at what the stipulation
would look like. We'd get it to all our defense counsel.

THE COURT: Well, here's my problem: I don't have
jurisdiction over any claims or defendants which do not exist
in the MDL. Now, it may be that you could make an allegation
that it's either judicial estoppel or law of the case or
fraud, I mean, whatever you would want to say that would

somehow bring that case back up here, which I'm not looking

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forward to, but I can't do anything with that. That has to

be handled totally through the New Jersey action, it strikes
me; in other words, either an additional notice of removal or
some sort of a request to dismiss for unethical conduct.
That's in your -- I don't have it. I can't do anything. But
on my case on my watch and my hunt, I do have jurisdiction;
and I believe I have the power to protect the authority, the
jurisdiction of this Court by enjoining the Haviland firm and
his party from pursuing a national class action with respect
to any overlapping claims and defendants. I could do that,
or he could simply drop them expressly before the Court.

And I don't know -- this is may be the first time
that Mr. Sobol or Mr. Berman have seen this -- I don't know
if it affects their agreement to have him be part of the
class team if you didn't even know about this.

MR. SOBOL: Well, let me address a few things, your
Honor, take a couple of steps back to make sure we put this
in context because I think you want to make sure you know
what it is that people knew or were aware of.

In August of 2007, at the end of August when we
came before you and we worked out the resolution with
Mr. Haviland, the only thing that we knew was that there had
been a case that had been remanded back to New Jersey, to
which there had been a representation to the Court that it

was going to be a New-Jersey-only action. Our assumption,

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meaning the co-leads' assumption, would be that if there were
actions that were going to be taken in New Jersey, that

Mr. Haviland would confer with us prior to taking them so
that we would make sure that that was coordinated with what
we were doing, and that's essentially, as I understand it,
all we knew.

As Mr. Berman indicated when we got notice of this
hearing, we then looked into what the circumstances were for
why it is that the Court wanted this, and we learned
essentially the things that have been indicated here: First,
to our surprise, there was a representation made down in
New Jersey that the New Jersey action would go forward on a
nationwide basis rather than a New-Jersey-only-wide basis,
and that's something that had not been reviewed by us. And
obviously that's something that, you know, would be an issue
of concern.

Second, it was at least a little bit ironic to us
that although the class counsel here in Boston had been --
there were disparaging remarks made about us because we were
representing both third-party payors and consumers in the AWP
case by Mr. Haviland, and yet that's exactly what's also
being done, or at least Mr. Haviland is representing TPPs and
consumers, or at least TPPs in the New Jersey action, and
that was a concern to us. And there were a variety of other

things that we sort of looked at that gave us pause.

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1 Now, where did that leave us? Well, where it
2 really leaves us is that we're ina position where our
3 overall view is, we want to be representing the class, and we

4 want to be representing the class effectively. And so we're

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5 willing to continue to work with Mr. Haviland if that's what

6 the Court thinks is appropriate. On the other hand, if the

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7 Court does not think that that's appropriate, then we're

8 willing to step down from doing that, but --

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9 THE COURT: Well --
10 MR. SOBOL: Let me -- I want to go into the balance
11 of it so you can hear about the overall. It's also just as

12 important to understand that, I don't know, but at least in
13 theory, there might be defendants in the New Jersey action

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14 that are not defendants here in the AWP MDL, or there might

15 be drugs in New Jersey that are at issue that are not at

16 issue here in the MDL. And to that extent, then there

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17 wouldn't be any overlapping, okay? But it's not enough

18 simply to say, go forward only on a New-Jersey-wide basis

19 because there would still be a need for coordination if, A,
20 the New Jersey action has some of the same defendants and

2i drugs and it's doing the New Jersey piece. That would be an

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22 issue for us, and we would need to make sure that we have,
23 you know, coordination with what was going on down there, at
24 a minimum, and communication.

25 THE COURT: Well, the judge was fabulous. I mean,

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1 he and I are definitely talking.
2 MR. SOBOL: Right.
3 THE COURT: So, I mean, in that sense, I think just
4 as in the Neurontin case, I'm working with Judge Freedman and
5 the state courts of New York, I mean, I'm willing to
6 coordinate and work. In fact, I think it's fabulous that he

Seen

7 picked up the phone because I didn't even know about this

8 issue. [LT wouldn't have known about it. :
9 MR. SOBOL: Right, but if I may -- :
10 THE COURT: So if that's what Mr. Haviland is |

11 urging, well, then that's a feather in his cap. But let me

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12 just say this: I've got a problem, Mr. Haviland. Let me

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13 just be really blunt. I knew about the problems you had with
14 Judge Stearns. I knew. I read about it. I know about it.

15 I've talked with Judge Stearns. I knew. Strike one.

Me ee

16 Strike two, I had problems with getting the Friday
17 before the hearing all the affidavits from class reps ina
18 case that had been going on for six years that would pull the
19 plug on a case that wasn't just about those class reps; you
20 know, people who are sick and with cancer who might not be
21 able to have a proceeding, or if I ruled against them, they
22 could appeal; if I ruled for them, they got money. But it
23 was just after six years just, you know, "I'm going to take
24 my toys and go home if I don't get it my way." So but I was
25 willing to go with the settlement. But then when I see this,
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